      Case 4:22-cv-00199 Document 82 Filed on 06/09/22 in TXSD Page 1 of 1
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                                June 09, 2022
                        UNITED STATES DISTRICT COURT
                                                                             Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

DAVID LEE DANIELS, III          §
                                §
     Plaintiff,                 §
VS.                             §              CIVIL ACTION NO. 4:22-CV-199
                                §
PENNYMAC LOAN SERVICES, LLC, et §
al.,                            §
                                §
     Defendants.                §

                                       ORDER


       Before the Court is Defendant Ginnie Mae’s letter requesting a pre-motion

conference for leave to file a motion to dismiss. (Dkt. 81). The Court finds that a pre-

motion conference is not necessary and grants Defendant Ginnie Mae leave to file its

motion to dismiss on or before June 23, 2022. Response and reply deadlines will fall

according to the Federal Rules of Civil Procedure and the Local Rules for the Southern

District of Texas.

        Signed on June 9, 2022, at Houston, Texas.


                                                _______________________________
                                                    GEORGE C. HANKS, JR.
                                                UNITED STATES DISTRICT JUDGE




1/1
